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                   12                                         UNITED STATES DISTRICT COURT
                   13                                   NORTHERN DISTRICT OF CALIFORNIA
                   14

                   15       NEO4J, INC., a Delaware corporation,                CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN AB, a Swedish
                   16       corporation,                                        PLAINTIFF NEO4J, INC.’S NOTICE OF
                                                                                MOTION AND MOTION TO DISMISS
                   17                           Plaintiffs,                     FOR FAILURE TO STATE A CLAIM AND
                                                                                MOTION TO STRIKE; MEMORANDUM
                   18               v.                                          OF POINTS AND AUTHORITIES IN
                                                                                SUPPORT THEREOF
                   19       PURETHINK LLC, a Delaware limited
                            liability company, IGOV INC., a Virginia            [Fed. R. Civ. P. 12(b)(6), 12(f)]
                   20       corporation, and JOHN MARK SUHY, an
                            individual,                                         Date:  August 13, 2020
                   21                                                           Time:  9:00 a.m.
                                                Defendants.                     Dept.: Courtroom 4, 5th Floor
                   22                                                           Judge: Hon. Edward J. Davila
                                                                                JURY TRIAL DEMANDED
                   23       AND RELATED COUNTERCLAIMS.
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 SAN JOSE   PALO ALTO       PLAINTIFF NEO4J, INC.’S NOTICE OF MOTION AND MOTION FOR FAILURE TO STATE A CLAIM; MEMORANDUM OF POINTS
                            AND AUTHORITIES IN SUPPORT THEREOF; CASE NO. 5:18-CV-07182-EJD
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                        1           TO ALL PARTIES AND COUNSEL OF RECORD:
                        2           PLEASE TAKE NOTICE that on August 13, 2020, at 9:00 a.m., or as soon thereafter as
                        3   the matter may be heard, in Courtroom 4, 5th Floor, at the United States District Court located at
                        4   280 South First Street, San Jose, CA 95113 before the Honorable Edward J. Davila, Plaintiff and
                        5   Counter-Defendant Neo4j, Inc. (“Plaintiff” or “Neo4j USA”) will, and hereby does, moves to
                        6   dismiss the Tenth Cause of Action for Declaratory Relief for Abandonment of Trademark
                        7   asserted in the Second Amended Counterclaim (Dkt. No. 72) filed by Defendants and
                        8   Counterclaimants John Mark Suhy, PureThink LLC, and iGov Inc. (collectively “Defendants”)
                        9   pursuant to Fed. R. Civ. P. 12(b)(6) (“Rule 12(b)(6)”). Neo4j USA further will, and hereby does,
                   10       moves to strike the substantively identical Ninth Affirmative Defense asserted in Defendants’
                   11       First Amended Answer to the Second Amended Complaint (Dkt. No. 71) pursuant to Fed. R. Civ.
                   12       P. 12(f) (“Rule 12(f)”). 1
                   13               This Motion is made on the grounds that Defendants’ amendments to their pleadings add
                   14       nothing substantive to its previously dismissed counterclaim and affirmative defense, and thus
                   15       Defendants cannot succeed seeking a declaration that the NEO4J® mark be abandoned under the
                   16       doctrine of naked licensing as a matter of law on any grounds alleged therein. This Motion is
                   17       based on this Notice of Motion and Motion, the attached Memorandum of Points and Authorities,
                   18       the accompanying request for judicial notice, all records and pleadings on file in this action, and
                   19       all other matters that the Court may properly consider.
                   20                                             REQUESTED RELIEF
                   21               Neo4j USA respectfully requests that the Court dismiss, with prejudice, Defendants’
                   22       Tenth Cause of Action for Declaratory Relief for Abandonment of Trademark and the Ninth
                   23       Affirmative Defense for Naked License Abandonment of Trademark, and enter judgment in favor
                   24       of Neo4j USA thereon.
                   25

                   26       1
                             Prior to filing this motion, Neo4j USA made a reasonable and diligent attempt to obtain a
                            hearing date from the Courtroom Deputy. Since June 19, 2020 was the statutory deadline for
                   27       Neo4j USA to file a response to Defendants’ Counterclaim, it had no other choice than to file this
                            motion. Neo4j USA will issue an amended notice of motion once the Courtroom Deputy
                   28       provides a hearing date.
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                        1                        MEMORANDUM OF POINTS AND AUTHORITIES
                        2   I.      STATEMENT OF ISSUES TO BE DECIDED
                        3           1.      Whether Defendants’ theory of naked licensing amounts legally viable

                        4   counterclaim or defense for abandonment of trademark pursuant to 15 U.S.C. § 1127.

                        5           2.      Whether granting Defendants further leave to amend the foregoing counterclaim or

                        6   defense would be futile.

                        7   II.     INTRODUCTION

                        8           This Court gave Defendants a narrow avenue to amend their Tenth Cause of Action for

                        9   Declaratory Relief for Abandonment of Trademark and the Ninth Affirmative Defense for Naked

                   10       License Abandonment of Trademark to state a legally viable theory of trademark abandonment

                   11       based on the theory that Neo4j USA engaged in the naked licensing by distributing NEO4J®-

                   12       branded software via an open source license. However, the additional allegations Defendants

                   13       assert in their amended pleadings do not thread this needle as they amount to the same defective

                   14       open-source software theory that was previously dismissed by the Court.

                   15               In its May 21, 2020 Order, the Court held “the fact that Plaintiff distributed Neo4j

                   16       software on an open source basis pursuant to the GPL and AGPL is not, without more, sufficient

                   17       to establish a naked license or demonstrate abandonment.” Dkt. No. 70. Defendants’

                   18       amendments, which merely identify the number of copies of the Neo4j software distributed

                   19       pursuant to the GPL and AGPL licenses, form the same nucleus of facts as those in its prior

                   20       pleadings and do not cure the defects addressed by the Court’s order.

                   21               Defendants’ amendments purport to show Neo4j’s failure to exercise quality control of the

                   22       copies, however, the allegations are conclusory and do not meet the Lanham Act’s specific

                   23       definitions of abandonment under 15 U.S.C. § 1127, which requires either non-use or a course of

                   24       conduct by the mark holder that causes the mark to become generic or otherwise lose significance

                   25       as a mark. As with its prior allegations, Defendants’ abandonment theory continues to run

                   26       contrary to established case law, which holds the use of open source license shows an intent to

                   27       control trademark rights rather than an intent to relinquish them. There are no allegations that

                   28       support the requirement that NEO4J® mark has become generic or otherwise lost its significance
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                        1   as an indicator of origin. In a desperate attempt to save their defective counterclaim and defense,
                        2   Defendants resort to their own conduct to try to establish naked licensing, but such self-serving
                        3   theories are precluded by the doctrine of licensee estoppel. Consequently, Defendants’
                        4   abandonment counterclaim and defense fail as a matter of law.
                        5           Defendants’ Tenth Cause of Action for Declaratory Relief and the Ninth Affirmative
                        6   Defense for Naked License Abandonment of Trademark have gone through several amendments.
                        7   Yet, none of these amendments changed their foundational theories which render them fatally
                        8   defective. Any further amendments would be futile as this theory is not legally viable.
                        9   Accordingly, the Court should dismiss with this counterclaim and defense with prejudice.
                   10       III.    FACTUAL AND PROCEDURAL BACKGROUND
                   11               A.      Neo4j Sweden, Neo4j USA and the NEO4J® mark
                   12               Plaintiff Neo4j Sweden AB (“Neo4j Sweden”) is the owner of all copyrights related to the
                   13       Neo4j® graph platform, including the source code, and has licensed said copyrights to Neo4j
                   14       USA. See Dkt. No. 50 at ¶ 4; see also Dkt. No. 72 at ¶ 86. On or about July 7, 2011, Neo4j USA
                   15       was incorporated as “Neo Technology, Inc.” in Delaware. Dkt. No. 55 at ¶¶ 5, 91; see also Dkt.
                   16       No. 72 ¶ 86. Thereafter, Neo4j USA became the parent company to Neo4j Sweden and obtained
                   17       the rights to the NEO4J® mark. Dkt. No. 72 ¶¶ 86-87. On April 30, 2014, Neo4j USA filed an
                   18       application to register “NEO4J” as a trademark in covering goods and services in IC 009, IC 035,
                   19       IC 041 and IC 045. Neo4j USA claimed first use of the NEO4J® mark in June 2006 and first use
                   20       in commerce in May 2007 based on the use of that mark by Neo4j’s predecessor-in-interest,
                   21       Neo4j Sweden, whose use properly inured to the benefit of Neo4j USA. See Dkt. No. 72 at ¶ 89.
                   22               B.      The History of the Parties’ Respective Pleadings
                   23               On November 28, 2018, Neo4j USA filed suit against PureThink and its successor-in-
                   24       interest iGov, along with their founder John Mark Suhy for (1) trademark infringement 15 U.S.C.
                   25       § 1114; (2) false designation of origin and false advertising in violation of 15 U.S.C. § 1125(a);
                   26       (3) federal unfair competition in violation of 15 U.S.C. § 1125(a); (4) state unfair competition in
                   27       violation of Cal. Bus. Prof. Code §§ 17200 et seq.; (5) breach of the Partner Agreement; and (6)
                   28       invasion of privacy in violation of Cal. Penal Code §§ 632, 637.2. See Dkt. No. 1. Neo4j USA’s
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                        1   Lanham Acts claims were based, inter alia, on Defendants’ unauthorized use of the NEO4J®
                        2   mark in conjunction with the sale and advertising of Defendants’ graph database solutions and
                        3   software and related support services. Their alleged violations also include falsely suggesting
                        4   Neo4j USA’s authorization and/or sponsorship of Defendants’ products and services and
                        5   misleading consumers regarding their prior contributions to NEO4J®-branded products.
                        6           After the parties engaged in discovery, Neo4j USA filed its First Amended Complaint
                        7   (“FAC”) on October 23, 2019. See Dkt. Nos. 35, 37. The FAC provided, inter alia, additional
                        8   and more recent examples of Defendants’ continuing violations of the Lanham Act. Compare
                        9   Dkt. No. 1 at ¶¶ 33-43 and Dkt. No. 37 at ¶¶ 39-67. The FAC also added Neo4j Sweden AB as a
                   10       plaintiff, which in turn asserted claims against Suhy for violations of the DMCA. In response,
                   11       PureThink and iGov filed a motion to dismiss a cause of action for breach of contract on grounds
                   12       unrelated to the Lanham Act claims. See Dkt. No. 49.
                   13               On November 25, 2019, Plaintiffs filed their Second Amended Complaint (“SAC”)
                   14       clarifying a handful of allegations that PureThink and iGov had taken issue with. See Dkt. No.
                   15       50. In response, Defendants re-asserted their declaratory relief for trademark abandonment based
                   16       on the theory of naked licensing that was first raised in their original answer and counterclaim:
                   17                   There is a present controversy where NEO4J USA claims it has the right to
                                        use and enforce the Neo4j trademark. PureThink, iGov and John Mark Suhy
                   18                   claim there is confusion whether Neo4j is a company name trademark or
                                        product name trademark. This confusion is exacerbated by NEO4J
                   19                   SWEDEN’ open source license for a product called Neo4j. NEO4J
                   20                   SWEDEN’s license states: “The software (“Software”) is developed and
                                        owned by NEO4J SWEDEN (referred to in this notice as “Neo4j”)….
                   21                   NEO4J SWEDEN asserts they own the software-and not NEO4J Inc.- and
                                        they use Neo4j name as part of the company name and call the open source
                   22                   software product Neo4j too. As the Neo4j trademark is used and licensed as
                                        open source software there is no ability to maintain quality control over the
                   23                   software product called Neo4j as any licensees may modify combine the
                   24                   software with other code and distributed or convey Neo4j without required
                                        quality control by NEO4J USA.
                   25
                                                                             ***
                   26                   PureThink, iGov and John Mark Suhy request declaratory relief that the
                   27                   Neo4j registered trademark be abandoned under the doctrine of Naked
                                        License.
                   28
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                        1   Dkt. No. 55 at ¶¶ 85-86; see also Dkt. No. 48 at ¶¶ 8-10. Defendants also filed an answer to the
                        2   SAC, which reasserted the two foregoing counterclaim as an affirmative defense. Dkt. No. 54 at
                        3   18:20-19:3, 19:12-25.
                        4           C.      The Court Grants Neo4j USA’s Motion for Judgment on the Pleadings
                        5           Among several other counterclaims and defenses, Neo4j USA moved for judgment on the
                        6   pleadings on Defendants’ trademark abandonment theory based on allegations that Neo4j®
                        7   software subject to the GNU General Public License (“GPL”) and a variant for server deployment
                        8   called the GNU Affero General Public License (“AGPL”) amounted to an abandoning that mark.
                        9   Neo4j USA argued that Defendants’ theory failed as a matter of law because courts, including the
                   10       Eleventh Circuit in Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1198 (11th Cir.
                   11       2001), recognize that the open source licensing software through at least one of those open source
                   12       licenses identified by Defendants constitutes an intent to control trademark rights, not the
                   13       relinquishment of rights. See Dkt. No. 70 at 11:21-12:25.
                   14               The Court took the motion under submission for decision without oral argument, and
                   15       granted Plaintiff’s motion on May 21, 2020. The Court’s order dismissed Defendants’
                   16       abandonment claims and defenses based on naked licensing (Second Cause of Action in the Suhy
                   17       Counterclaim; Tenth Cause of Action in PureThink and iGov’s First Amended Counterclaim; and
                   18       the Ninth Affirmative Defense in the Defendants’ Answer) with leave to amend. Dkt. No. 70. In
                   19       particular, the Court held that
                   20                    Defendants fail to show why the level of control exerted under the GPL is
                                         not also sufficient to overcome a claim of abandonment. Instead, Defendants
                   21
                                         argue that Neo4j USA is unable to control the quality of products using the
                   22                    mark because neither the GPL nor AGLP contain specific trademark quality
                                         control provisions.
                   23
                                                                             ***
                   24                    Defendants do not raise any allegations indicating that Plaintiff has failed to
                                         exercise actual control over licensees’ use of the trademark. Thus, the Court
                   25                    finds that the absence of specific quality control provisions—either in the
                                         GPL, AGPL, or in a separate trademark license—is not dispositive here. See
                   26                    Hokto Kinoko Co. v. Concord Farms, Inc., 738 F.3d 1085, 1098 (9th Cir.
                                         2013) (“[e]ven absent formal quality control provisions, a trademark owner
                   27
                                         does not abandon its trademark where the particular circumstances of the
                   28                    licensing arrangement suggests that the public will not be deceived”)
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                        1                (internal quotes and citation omitted). Moreover, this Court is persuaded by
                                         the reasoning in Planetary Motion that the notice requirements in the GPL
                        2                and AGPL evidence an effort to control the use of the mark. Thus, the fact
                        3                that Plaintiff distributed Neo4j software on an open source basis pursuant to
                                         the GPL and AGPL is not, without more, sufficient to establish a naked
                        4                license or demonstrate abandonment.

                        5
                            Dkt. No. 70 at 12:2-13:26. The Court then granted leave to amend “[t]o the extent that
                        6
                            Defendants are able to allege that Plaintiff failed to exercise actual control over licensees’ use of
                        7
                            the trademark, such allegations may be sufficient to state a claim of abandonment ….” Id. at
                        8
                            13:27-14:2.
                        9
                                    D.      Defendants’ Amended Pleadings Reallege the Same Untenable Theory of
                   10                       Abandonment via Naked Licensing

                   11               On June 5, 2020, Defendants filed their Second Amended Counterclaim and First
                   12       Amended Answer to Plaintiffs’ Second Amended Complaint containing the same amendments
                   13       supporting their naked license theory of abandonment. See Dkt. Nos. 71, 72. However,
                   14       Defendants continue to maintain the same flawed theory that it asserted before—that the open-
                   15       source distribution of Neo4j® software, subject to the GPL and AGPL open source licenses,
                   16       amounts to abandonment of the mark.
                   17               Defendants simply re-alleged their naked licensing defense based on the open source
                   18       licensing of Neo4j® software by replacing Neo4j USA with Neo4j Sweden. Namely, that Neo4j
                   19       USA’s predecessor, Neo4j Sweden, licensing of Neo4j® branded software under the GPL and
                   20       AGPL before Neo4j USA existed amounted to naked licensing of the Neo4j® mark because
                   21       Neo4j Sweden did not implement any further quality controls beyond those licenses. Dkt. No. 72
                   22       at ¶¶ 85-88. As a result, when Neo4J USA “obtained rights to the Neo4J trademark years later,
                   23       the [NEO4J® mark] was already abandoned by Neo4J Sweden’s lack of contractual and actual or
                   24       adequate quality control for third party’s extensive use of the [NEO4J® mark].” Id. at ¶ 86.
                   25               Defendants then allege in conclusory fashion that even after Neo4j USA was incorporated
                   26       and was assigned the rights in the NEO4J® mark, “Neo4J Sweden has not exercise contractual
                   27       control over GPL and AGPL licensee’s use of the [NEO4J® mark].” Dkt. No. 72 at ¶¶ 88-89.
                   28
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                        1   This is followed by contradictory allegations that “[t]he GPL and AGPL provide that a licensee
                        2   must carry prominent notices stating that you modified it and giving a relevant date.” Id. at ¶ 89.
                        3   Then in direct contradiction to Planetary Motion and the Court’s findings based thereon,
                        4   Defendants allege this requirement “does not control quality to maintain the Neo4J trademark”
                        5   and “any person could modify the source code to Neo4J software and convey the modified Neo4J
                        6   software to third parties” under the GPL and AGPL licenses. Id. at ¶¶ 89, 92.
                        7           Rather than cite specific examples of third party modified software that was distributed in
                        8   a manner that is inconsistent with the requirements of the GPL and AGPL, Defendants simply
                        9   cite to the large number of third party repositories on GitHub, projects at GitLab and potentially
                   10       third party modified Neo4J versions which purport to use the Neo4J trademark. See Dkt. No. 72
                   11       at ¶¶ 91-95. Defendants also do not allege a single non-conclusory example of where either
                   12       Neo4j USA or Neo4j Sweden failed to exercise actual quality control over Neo4j® software
                   13       (third party modified or otherwise) or where the public was deceived into believing such modified
                   14       software was an official unmodified version of Neo4j® software, and again simply cite to the fact
                   15       that third parties modified and distributed Neo4j® software as expressly contemplated by the
                   16       GPL and AGPL and Planetary Motion. See id.
                   17               The only other allegations purporting to establish the naked licensing is Suhy’s
                   18       modification of Neo4j® software, which was called “Neo4J Government Edition.” Dkt. No. 72 at
                   19       ¶ 96. This is the same version of Neo4j® software that PureThink marketed to government
                   20       entities under the Partner Agreement, which contains a trademark license provision, and an
                   21       alleged “exclusivity agreement” it had entered into with Neo4j USA. See id., ¶¶ 15-19, Exhs. B
                   22       and C. Defendants continue to allege they spent significant time and money “designing and
                   23       developing enhancements and additional features around Neo4j including support and
                   24       professional services to addressed critical government security and procurement requirements”
                   25       under these agreements with Neo4j USA’s approval. See id., ¶ 17. Yet, they are now alleging for
                   26       the first time that “Neo4J USA did no quality assurance or verification of the source code or
                   27       applications distributed as ‘Neo4J Government Edition.’” Id.
                   28               Defendants then once again allege in conclusory and contradictory fashion that “[b]ecause
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                        1   Neo4J Sweden and Neo4J USA had no contractual controls and did not exercise actual and
                        2   adequate controls over the prolific use of the Neo4J trademark by third parties who modified and
                        3   conveyed modified versions of Neo4J software, the trademark should be deemed abandoned.”
                        4   Dkt. No. 72 at ¶ 97. Defendant’s Ninth Affirmative Defense for Naked License Abandonment of
                        5   Trademark in their First Amended Answer repeat these allegations essentially verbatim. Dkt. No.
                        6   71 at 19:7-23:17. As discussed below, this counterclaim and defense fail as a matter of law and
                        7   that no further amendments can save them from this Court from dismissing them with prejudice.
                        8   IV.     APPLICABLE LEGAL STANDARDS
                        9           A.      Rule 12(b)(6) Motions to Dismiss
                   10               Federal Rule of Civil Procedure 8(a) requires a plaintiff to plead each claim with
                   11       sufficient specificity to “give the defendant fair notice of what the... claim is and the grounds
                   12       upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Although particular
                   13       detail is not generally necessary, the factual allegations “must be enough to raise a right to relief
                   14       above the speculative level” such that the claim “is plausible on its face.” Id. at 556-57. “A claim
                   15       has facial plausibility when the plaintiff pleads factual content that allows the court to draw the
                   16       reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,
                   17       556 U.S. 662, 678 (2009). A complaint which falls short of the Rule 8(a) standard may be
                   18       dismissed if it fails to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).
                   19       Dismissal of a claim under Rule 12(b)(6) may be based on a “lack of a cognizable legal theory or
                   20       the absence of sufficient facts alleged under a cognizable legal theory.” Balistreri v. Pacifica
                   21       Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988); see Mendiondo v. Centinela Hosp. Med. Ctr.,
                   22       521 F.3d 1097, 1104 (9th Cir. 2008).
                   23               In deciding whether to grant a Rule 12(b)(6) motion for failure to state a claim upon
                   24       which relief can be granted, the Court accepts all material facts alleged as true and construes them
                   25       in the light most favorable to the non-moving party. Fleming v. Pickard, 581 F.3d 922, 925 (9th
                   26       Cir. 2009). However, “the tenet that a court must accept as true all of the allegations contained in
                   27       the complaint is inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678–79. Indeed, “a
                   28       plaintiff’s obligations to provide the grounds of his entitlement to relief requires more than labels
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                        1   and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
                        2   Twombly, 550 U.S. at 555 (citations and quotations omitted); accord Iqbal, 555 U.S. at 677–80.
                        3   Thus, conclusory allegations of law, unwarranted deductions of fact, and unreasonable inferences
                        4   are insufficient to defeat a motion to dismiss. Sprewell v. Golden State Warriors, 266 F.3d 979,
                        5   988 (9th Cir. 2001); Epstein v. Wash. Energy Co., 83 F.3d 1136, 1140 (9th Cir. 1996). The Court
                        6   may also consider documents attached to the complaint, documents relied upon but not attached
                        7   to the complaint when authenticity is not contested, and matters of which the Court takes judicial
                        8   notice. Lee v. City of Los Angeles, 250 F.3d 668, 688–89 (9th Cir. 2001). However, the Court
                        9   need not accept as true allegations contradicted by judicially noticeable facts, or by exhibits
                   10       attached to or incorporated in the pleading. Sprewell, 266 F.3d at 988.
                   11               B.      Rule 12(f) Motions to Strike
                   12               Federal Rule of Civil Procedure 8(c) similarly requires that a party “affirmatively state
                   13       any avoidance or affirmative defense.” Courts in this District have held that the heightened
                   14       pleading standard for complaints articulated in Twombly and Iqbal applies to affirmative
                   15       defenses. See Perez v. Gordon & Wong Law Group, P.C., No. 11-CV-03323-LHK, 2012 WL
                   16       1029425, at *8 (N.D. Cal. Mar. 26, 2012) (collecting cases); see also Hernandez v. County of
                   17       Monterey, 306 F.R.D. 279, 283 (N.D. Cal. 2015) (recognizing that “[m]ost district courts in this
                   18       circuit agree that the heightened pleading standard of Twombly and Iqbal...is now the correct
                   19       standard to apply to affirmative defenses”). This standard is “consistent with Iqbal’s admonition
                   20       that fair notice pleading under Rule 8 is not intended to give parties free license to engage in
                   21       unfounded fishing expeditions on matters for which they bear the burden of proof at trial.” Id.
                   22       (citing Iqbal, 556 U.S. at 678–79). Thus, “[w]hile a defense need not include extensive factual
                   23       allegations in order to give fair notice, bare statements reciting mere legal conclusions may not be
                   24       sufficient.” Id. (internal quotation marks omitted).
                   25               A motion to strike brought pursuant to Rule 12(f) serves “to avoid the expenditure of time
                   26       and money that must arise from litigating spurious issues by dispensing with those issues prior to
                   27       trial.” SidneyVinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983); see also Fantasy,
                   28       Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev'd on other grounds, 510 U.S. 517
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                        1   (1994). Thus, a defense may be stricken pursuant to Rule 12(f) as insufficient if it fails to give
                        2   plaintiff “fair notice” of the defense. Barnes v. AT & T Pension Benefit Plan–Nonbargained
                        3   Program, 718 F.Supp.2d 1167, 1170 (N.D. Cal. 2010).
                        4           For a court to grant a motion to strike, the grounds “must appear on the face of the
                        5   pleading under attack or from matters of which the court may take judicial notice. In re Apple,
                        6   AT & T iPad Unlimited Data Plan Litig., No. C-10-02553 RMW, 2012 WL 2428248, at *2 (N.D.
                        7   Cal. June 26, 2012); accord In re New Century, 588 F.Supp.2d 1206, 1220 (C.D.Cal.2008). “With
                        8   a motion to strike, just as with a motion to dismiss, the court should view the pleading in the light
                        9   most favorable to the nonmoving party.” Platte Anchor Bolt, Inc. v. IHI, Inc., 352 F. Supp. 2d
                   10       1048, 1057 (N.D. Cal. 2004). Affirmative defenses are insufficient as a matter of law where there
                   11       are no questions of fact, any questions of law are clear and not in dispute, and under no set of
                   12       circumstances could the defense succeed.” Hernandez v. Cty. of Monterey, 306 F.R.D. 279, 284-
                   13       85 (N.D. Cal. 2015).
                   14       V.      LEGAL ARGUMENT
                   15
                                    A.      Defendants’ Counterclaim and Affirmative Defense for Abandonment of
                   16                       Trademark Based on Naked Licensing Fails as a Matter of Law

                   17               Defendants’ Tenth Cause of Action for Declaratory Relief in its Second Amended
                   18       Counterclaim (Dkt. No. 72 at ¶¶ 84-98) and the Ninth Affirmative Defense for Naked License
                   19       Abandonment of Trademark in its First Amended Answer (Dkt. No. 71 at 19:7-23:17)
                   20       collectively seek a declaration that Neo4j abandoned the NEO4J® mark pursuant to the doctrine
                   21       of “naked licensing.” Under the Lanham Act, a mark can only be deemed “abandoned” when
                   22       either of the following occurs: “(1) When its use has been discontinued with intent not to resume
                   23       such use,” or “(2) When any course of conduct of the owner, including acts of omission as well as
                   24       commission, causes the mark to become the generic name for the goods or services on or in
                   25       connection with which it is used or otherwise to lose its significance as a mark.” 15 U.S.C.
                   26       § 1127. Naked licensing falls under the second definition of abandonment because it is an
                   27       “uncontrolled” license where the licensor “fails to exercise adequate quality control over the
                   28       licensee.” Barcamerica Int’l USA Trust v. Tyfield Importers, Inc., 289 F.3d 589, 595-96 (9th Cir.
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                        1   2002). The proponent of a naked license theory “faces a stringent standard” of proof. Id. at 596.
                        2           As discussed below, the additional allegations asserted by Defendants in their amended
                        3   pleadings do nothing to make its claim and defense cognizable under 15 U.S.C. § 1127 and
                        4   applicable cases governing naked licensing. Defendants merely offer conclusory and speculative
                        5   allegations regarding a lack of quality control, but no reasonable inference can be drawn that the
                        6   NEO4J® mark has been abandoned and ceased to function as an indicator of origin.
                        7                   1.      Defendants’ Amendments Still Do Not Establish a Legally Viable
                                                    Trademark Abandonment Counterclaim or Defenses Based on the
                        8                           Theory of Naked Licensing
                        9           As Defendants alleged before, the crux of their abandonment theory remains that the
                   10       distribution of NEO4J®-branded software, subject to the AGPL and GPL, amounts to the naked
                   11       licensing of the NEO4J® Mark. Defendants have simply extended that theory to Neo4j USA’s
                   12       predecessor-in-interest, Neo4j Sweden. Dkt. No. 72 at ¶¶ 86-87. However, the distinction
                   13       Defendants attempt to draw between Neo4j Sweden and Neo4j USA is of no matter because
                   14       Defendants concede that even before Neo4j USA existed, Neo4j Sweden used the GPL and
                   15       AGPL to distribute Neo4j® software. Id. at ¶ 88 (“[f]or a period of 5 years before the plaintiff
                   16       existed and thereafter…Neo4j Sweden used the GPL and AGPL licenses to proliferate the free
                   17       use, development and modification of Neo4J software.”) Thus, the GPL and AGPL governed the
                   18       copies made of the Neo4j’s software at all times alleged.
                   19               The fact that NEO4J® Mark was used by Neo4j USA’s predecessor-in-interest is also of
                   20       no consequence as Neo4j Sweden’s use properly inured to the benefit of Neo4j USA. See 15
                   21       U.S.C. § 1127 (“The term ‘related company’ means any person whose use of a mark is controlled
                   22       by the owner of the mark with respect to the nature and quality of the goods or services on or in
                   23       connection with which the mark is used.”); 15 U.S.C. § 1055 (“Where a [] mark sought to be
                   24       registered is [] used legitimately by related companies, such use shall inure to the benefit of the
                   25       registrant or applicant for registration, and such use shall not affect the validity of such mark or of
                   26       its registration….”). For this same reason, the fact that Neo4j Sweden continues to be the owner
                   27       of the copyright in the Neo4j® software and is the licensor thereof, while Neo4j USA owns the
                   28       NEO4J® mark does not amount to abandonment. See Dkt. No. 72 at ¶¶ 87, 90. As conceded by
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                        1   Defendants, Neo4j USA is the parent of Neo4J Sweden. See id. at ¶ 87. Thus, they continue to
                        2   meet the definition of “related companies” under 15 U.S.C. § 1127 and their combined use of the
                        3   “shall not affect the validity of such mark.” 15 U.S.C. § 1055; see also Hokto Kinoko Co. v.
                        4   Concord Farms, Inc., 738 F.3d 1085, 1098 (9th Cir. 2013) (no naked licensing where subsidiary
                        5   used parent company’s trademark).
                        6           Defendants’ allegations that Neo4j Sweden somehow abandoned the Neo4j® mark before
                        7   assigning it to Neo4j USA similarly miss the mark. Dkt. No. 72 at ¶¶ 86, 88. These are
                        8   conclusions couched as fact. The Court need not accept those allegations as true. See Twombly,
                        9   550 U.S. at 555; see also Ileto v. Glock Inc., 349 F.3d 1191, 1200 (9th Cir. 2003) (recognizing
                   10       that courts “do not accept any unreasonable inferences or assume the truth of legal conclusions
                   11       cast in the form of factual allegations”). More importantly, Defendants’ allegations simply parrot
                   12       their prior allegations against Neo4j USA that the distribution of Neo4j® software under the GPL
                   13       and AGPL amounts to a lack of “contractual control over GPL and AGPL licensee’s use of the
                   14       Neo4J trademark.” Dkt. No. 72 at ¶ 89. Substituting “Neo4j Sweden” for “Neo4j USA” does not
                   15       address the Court’s express finding that the distribution of Neo4j® software under the GPL and
                   16       AGPL evidence of Plaintiffs’ effort to control the NEO4J® mark. Dkt. No. 70 at 11:21-13:26.
                   17               Defendants’ attempt to allege a lack of actual quality control by Neo4j Sweden and Neo4j
                   18       USA also falls short of what the Court indicated would be necessary to revive their abandonment
                   19       counterclaim and defense. Defendants repeatedly refer to unspecified “third-party modifications”
                   20       to Neo4j® software found on GitHub, GitLab, and Docker software repositories, and
                   21       unreasonably infer that simply because copies were made and downloaded by others, there is a
                   22       lack of actual quality control on the part of Plaintiffs. See, e.g., Dkt. No. 72, ¶¶ 85, 92-94.
                   23       Noticeably absent are any allegations that Plaintiffs failed to exercise adequate quality control
                   24       over these copies licensed under the GPL and AGPL, let alone that such omission “caused the
                   25       mark to become the generic name for the goods or services on or in connection with which it is
                   26       used or otherwise to lose its significance as a mark.” 15 U.S.C. § 1127. Indeed, there is not a
                   27       single allegation identifying which Neo4j® software features were actually modified and resulted
                   28       in a loss of quality in relation to the NEO4J® mark. As a result, these are nothing more
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                        1   conclusory allegations that require the Court to make an unreasonable and unsupported inference
                        2   that any and all unspecified modifications diminish the quality of Neo4j® software.
                        3           Defendants allegations that there are “significant consumer downloads and use of these
                        4   third party modified Neo4J versions which use the Neo4J trademark” and that there “are millions
                        5   of copies of modified versions of Neo4J downloaded where the modified version of the software
                        6   uses the Neo4J trademark” also do not address the defects in their prior pleadings that resulted in
                        7   dismissal. See Dkt. No. 72 at ¶¶ 93-94. This is because Defendants do not dispute that the third-
                        8   party copies of Neo4j® software were proliferated pursuant to the GPL and AGPL licensing
                        9   framework. Dkt. No. 72 at ¶ 92 (“[t]he GPL and AGPL free license rights were used to
                   10       proliferate users and third party developers of Neo4J software”). Consequently, Defendants’
                   11       naked licensing theory still runs afoul with the Court’s finding that “the reasoning in Planetary
                   12       Motion that the notice requirements in the GPL and AGPL evidence an effort to control the use of
                   13       the mark.” Dkt. No. 70 at 13:21-23.
                   14               Both the GPL and AGPL require licensees who wish to copy, distribute, or modify the
                   15       software to include a copyright notice properly identifying the actual copyright owner and to
                   16       identify any modifications made to the software. As previously recognized by the Court,
                   17                   Under the terms of the GPL, a licensee may “convey a work based on the
                                        Program, or the modifications to produce it from the Program, in the form
                   18                   of source code under the terms of section 4, provided that . . . [t]he work
                                        must carry prominent notices stating that [the licensee] modified it, and
                   19                   giving a relevant date.” GPL § 5(a). [] The AGPL similarly provides that
                                        a licensee “may convey a work based on the Program, or the modifications
                   20                   to produce it from the Program, in the form of source code under the terms
                                        of section 4, provided that . . . [t]he work must carry prominent notices
                   21                   stating that the licensee modified it, and giving a relevant date.” AGPL §
                                        5(a).
                   22
                            Dkt. No. 70 at 11:23-12:3. Again, it is precisely this notice requirement imposed on licensees
                   23
                            that acts as a control on quality and indication of origin, by allowing a user to distinguish the
                   24
                            origin of the original source code from the licensee’s copy and whatever modifications may have
                   25
                            been made to that copy. See Planetary Motion, 261 F.3d at 1198 (recognizing that “the Software
                   26
                            had been distributed pursuant to [the GPL] does not defeat trademark ownership, nor does this in
                   27
                            any way compel a finding that [plaintiff] abandoned his rights in trademark” and “[b]ecause [the
                   28
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                        1   GPL] requires licensees who wish to copy, distribute, or modify the software to include a
                        2   copyright notice, the license itself is evidence of [plaintiff’s] efforts to control the use of the . . .
                        3   mark in connection with the Software.”); accord Dkt. No. 70 at 11:14-13:26.
                        4           In addition, none of Defendants’ amendments address the fact that GPL and AGPL are not
                        5   trademark licenses at all, and that Plaintiffs are still able to control the quality of software bearing
                        6   the NEO4J® mark. See Dkt. No. 70 at 12:6-10, 13:15-23. As conceded by Defendants, the only
                        7   mention of trademarks in the AGPL and GPL relates to a licensee limiting the rights to its
                        8   trademarks “when the licensee conveys a modified version of Neo4J.” Dkt. No. 72 at ¶ 89. This
                        9   necessarily relates to the requirement that the licensee identify the modifications it has made, and
                   10       thus bolsters the notion that the AGPL and GPL evidence the licensor’s efforts to control the
                   11       quality of the software. See Exxon Corp. v. Oxxford Clothes, Inc., 109 F.3d 1070, 1076 (5th Cir.
                   12       1997) (recognizing that no formal control requirements are necessary if the agreement between
                   13       the licensor and licensee is not considered an actual trademark license). Clearly, the GPL and
                   14       AGLP are not attempts “to transfer or license the use of a trademark ... but [instead] fix[ ] and
                   15       define[ ] the existing trademark of each ... [so] that confusion and infringement may be
                   16       prevented.” Id. Thus, there is no naked licensing of the NEO4J® Mark as Defendants allege.
                   17               Finally, the Court made clear that Defendants would need to show that that Neo4j USA
                   18       failed to exercise actual control over licensees’ use of the trademark. See Dkt. No. 70 at 13:27-
                   19       14:1. None of the amendments to Defendants’ pleadings address the fact that Neo4j USA
                   20       actually polices the NEO4J® mark by requiring that third parties who modify and distribute
                   21       copies of Neo4j® software must abide by its Trademark Policy found on Neo4j’s website, which
                   22       states in relevant part:
                   23                   Although some Neo4j projects may be available under free and open
                                        licenses, those licenses cover copyright only and do not include any express
                   24                   or implied right to use our trademarks…. Whenever you use one of the
                                        Marks, you must always do so in a way that does not mislead anyone, either
                   25                   directly or by omission, about exactly what they are getting and from whom.
                   26       Dkt. No. 50, ¶ 28; see also Request for Judicial Notice, ¶¶1-2, Declaration of Cary Chien., Exhs.
                   27       1-2. Plaintiffs’ use of the GPL, AGPL, and Neo4j USA’s Trademark Policy thus shows an intent
                   28       to control trademark rights in connection with the open-source community and third-party copies,
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                        1   not the relinquishment of rights. No reasonable reading of Defendants’ naked license theory,
                        2   even in light of the latest amendments, plausibly suggests the contrary. Consequently,
                        3   Defendants’ abandonment counterclaim and defense remain legally deficient and should be
                        4   dismissed with prejudice.
                        5                   2.      Defendants’ Amendments to its “Open Source Licensing” Theory Does
                                                    Not Establish Any Evidence of Deception by the Public
                        6

                        7           Defendants’ amendments also fail to allege facts establishing another necessary element to
                        8   establish abandonment under 15 U.S.C. § 1127. Absent from Defendants’ amended pleadings are
                        9   allegations establishing that the NEO4J® mark ceased to function as an indicator of origin as a
                   10       result of the permissible copies. This is fatal to Defendants’ abandonment counterclaim and
                   11       defense because, notwithstanding the use of the GPL and AGPL, a trademark owner does not
                   12       abandon its trademark where the particular circumstances of the licensing arrangement suggests
                   13       that the public will not be deceived. See Hokto Kinoko, 738 F.3d at 1098. Such circumstances
                   14       exist “where the licensor is familiar with and relies upon the licensee’s own efforts to control
                   15       quality.” Id. (internal quotation marks omitted).
                   16               Defendants do not allege that in any of the third-party copies found on any of the links
                   17       cited (GitHub, GitLab, or Docker), anyone was led to believe the copies were official Neo4j
                   18       software releases versus permissible copies under the AGPL and GPL. There are still no
                   19       allegations that any of these unidentified third parties actually degraded the quality and brand of
                   20       Neo4j® software. Likewise, Defendants do not allege specific facts plausibly establishing that
                   21       modified copies of Neo4j® software were lacking in quality, or that there were actual complaints
                   22       from users that mistakenly believed them to be unmodified.
                   23               Defendants’ allegations concerning Neo4j Government Edition—which Defendants allege
                   24       was the result of a Suhy/PureThink-Neo4j joint development effort—is devoid of any plausible
                   25       facts indicating deception in the marketplace. See Dkt. No. 72 at ¶ 96. To the contrary,
                   26       Defendants allege that the idea to develop Neo4j Government Edition originated with Neo4j
                   27       USA, and which Neo4j USA authorized and contracted with PureThink to develop:
                   28
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                        1           John Suhy, of PureThink, had discussions with Lars Nordwall, COO of NEO4J
                                    USA concerning the challenges of obtaining business with the US government.
                        2           Mr. Suhy and Mr. Nordwall discussed the need to modify the software offering to
                                    satisfy security and other requirements the government had. Mr. Nordwall
                        3           represented to Mr. Suhy that Mr. Suhy could improve the open source Neo4j
                                    software offering for the government and that PureThink would have exclusive
                        4           rights to the Neo4J support and deals with the Government. Furthermore, a
                                    separate agreement came into place for the new Neo4j version for the government
                        5           which was supposed to protect the investment PureThink was making and was
                                    going to make. A true and correct copy of the exclusive agreement for
                        6           Government sales is attached as Exhibit C.
                        7
                            See Dkt. No. 72, ¶ 16; see also ¶ 15, Exh. B. Defendants further allege that Suhy and
                        8
                            Purethink worked tireless to ensure that the Neo4j Government Edition would function
                        9
                            properly and meet the demands of government customers:
                   10
                                    PureThink, worked for months on the new Neo4j Government Package
                   11               software, determining the requirements, designing and developing enhancements
                                    and additional features around Neo4j including support and professional services
                   12               to addressed critical government security and procurement requirements.
                                    …PureThink’s government packaging of Neo4j was called Neo4j Government
                   13               Edition and a.k.a. Neo4j Enterprise Government Edition. (“Neo4j Government
                                    Edition”). The Neo4j Government Edition was a complete package that
                   14               included additional services, support and software modules enhancing Neo4j
                                    to address critical government requirements.
                   15
                            See Dkt. No. 72, ¶ 17. Since the foregoing allegations, which Defendants have maintained since
                   16
                            their original counterclaim (Dkt. No. 22 at ¶¶ 13-15), directly contradict their newly added
                   17
                            allegations that Neo4j USA failed maintain quality control over Suhy and PureThink’s creation of
                   18
                            Neo4j Government Edition (Dkt. No. 72 at ¶ 96), the Court should disregard the latter as an
                   19
                            unwarranted deduction of fact and an unreasonable inference. See Sprewell, 266 F.3d at 988.
                   20
                                    Even if these new facts could be read in a non-contradictory manner, it was entirely
                   21
                            reasonable for Neo4j USA to rely on Suhy and Purethink to control the quality of Neo4j
                   22
                            Government Edition. See Hokto Kinoko, 738 F.3d at 1098; see also Edwin K. Williams & Co.,
                   23
                            Inc. v. Edwin K. Williams & Co.-East, 542 F.2d 1053, (9th Cir. 1976) (no quality control by
                   24
                            licensor required in mark license for accounting services, where licensor knew from experience
                   25
                            that licensee was a competent accountant, well-acquainted with bookkeeping, and would present
                   26
                            no danger to the public if uncontrolled); Monster, Inc. v. Dolby Laboratories Licensing Corp.,
                   27
                            920 F.Supp. 2d 1066, 1077-78 (N.D. Cal. 2013) (recognizing that “[a] close or long-standing
                   28
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                        1   working relationship with a licensee, where the licensor can rely on the licensee’s quality control,
                        2   may stand in for a formal agreement in certain circumstances”).
                        3           Defendants’ preceding allegations make clear that Neo4j USA was familiar with and
                        4   could reasonably rely upon PureThink’s efforts to control the quality of government version of
                        5   the Neo4j® software. See Dkt. No. 72, ¶¶ 12-15. It also would appear that was the point of the
                        6   exclusive agreement with PureThink and Suhy. Id., ¶¶ 16-17.
                        7           Defendants’ reliance on the Neo4j Government Edition as an alleged example of a lack of
                        8   quality control also falls short because there are no other facts establishing that there were any
                        9   quality control issues with Neo4j Government Edition. To the contrary, Defendants allege that
                   10       PureThink “did deals with MPO, Sandia National Laboratories, and the FBI” and allegedly had
                   11       the potential for numerous other sales of the Neo4j Government Edition before Neo4j USA
                   12       terminated the parties’ contractual relationship. See Dkt. No. 72, ¶¶ 18, 21, 23-27, 50-52.
                   13               Finally, no reasonable inference taken from the totality of the facts alleged even suggest
                   14       any actual or potential customer complained about the quality of the Neo4j Government Edition
                   15       or was deceived as to Suhy and PureThink’s role in its development. Indeed, the resultant
                   16       product allegedly “enhanc[ed] Neo4j to address critical government requirements.” Id. at ¶ 17.
                   17       Taken as a whole, Defendants’ allegations concerning Neo4j Government Edition simply do not
                   18       meet the stringent standard of proof required by the Ninth Circuit for trademark challengers under
                   19       the naked licensing theory. See Transgo, Inc. v. Ajac Transmission Parts Corp., 768 F.2d 1001,
                   20       1017-18 (9th Cir. 1985) (even though licensor never directed inspected or tested the final product,
                   21       reliance on a licensee’s own quality control was sufficient where 90% of the components were
                   22       made by the licensor, the parties worked closely in development of new products, and no
                   23       complaints were ever received about licensee’s products).
                   24                       3.      Defendants are Barred by the Doctrine of Licensee Estoppel From
                                                    Basing their Abandonment Counterclaim and Defense on their
                   25                               Development and Sale of the Neo4j Government Edition
                   26               Defendants’ allegations concerning Neo4j Government Edition also fails as a cognizable
                   27       claim because it runs afoul with the doctrine of licensee estoppel. Courts in this District have
                   28       made clear that a licensee cannot challenge the validity of a trademark based on a failure to police
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                        1   the licensee’s own licensed use of that trademark or that the license itself constituted a naked
                        2   license. Monster, Inc., 920 F.Supp.2d at 1076–1077 (licensee estoppel prevents licensee’s
                        3   attempt to challenge the trademark based on failure to police its own licensed use); STX, Inc. v.
                        4   Bauer USA, Inc., 1997 WL 337578, 43 U.S.P.Q.2d 1492 (N.D. Cal. June 5, 1997) (former
                        5   licensee may not challenge the licensor’s mark based upon facts which arose during the term of
                        6   the license); see also TAP Mfg., LLC v. Signs, 2015 WL 12752874, at *3 (C.D. Cal. July 23,
                        7   2015) (“a licensee may not assert that the licensor’s mark is invalid because the licensor granted a
                        8   naked license to the licensee”) (citing Monster, 920 F.Supp. 2d at 1077).
                        9           For example, in Monster, Inc. v. Dolby Labs. Licensing Corp., Monster alleged that
                   10       Dolby’s trademark infringement and related claims should be denied because Dolby supposedly
                   11       abandoned its trademark rights via naked licensing. However, Dolby had previously granted
                   12       Monster a license to use Dolby’s mark. The court recognized that “the licensee estoppel doctrine
                   13       precludes a licensee from challenging the validity of the licensor’s trademark based upon conduct
                   14       that occurred during the life of its license, particularly with respect to the licensee itself.”
                   15       Monster, Inc., 920 F.Supp.2d at 1076-77. The Monster court thus concluded that under the
                   16       doctrine of licensee estoppel, “any evidence that Dolby failed to police Monster’s use of the
                   17       Dolby Headphone Mark would be irrelevant.” Id. (emphasis in original)
                   18               Similarly, in STX, Inc. v. Bauer USA, Inc., the defendant Bauer asserted that STX's
                   19       trademark infringement and related claims should be denied because STX allegedly abandoned its
                   20       trademark rights via naked licensing. 43 U.S.P.Q.2d at 1500-01. Bauer alleged in pertinent part
                   21       that during the term of the parties’ license agreement, STX failed to supervise the quality of its
                   22       licensed goods. Id. The STX court concluded that because the alleged lack of quality control
                   23       occurred during the life of the parties’ license, Bauer’s naked licensing defense was barred by the
                   24       doctrine of licensee estoppel. Id. at 1501.
                   25               The same reasoning applies here. PureThink and Neo4j USA entered into the Partner
                   26       Agreement on September 30, 2014. Dkt. No. 72 at ¶ 15, Exh. B. Under Section 4.1 of the Partner
                   27       Agreement, Neo4j USA provided PureThink with a non-exclusive, non-transferable limited
                   28       license during the term of that agreement to, inter alia, “use [Neo4j USA’s] trademarks solely to
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                        1   market and promote the Products in accordance with the terms of [the Partner Agreement].” Dkt.
                        2   No. 72, Exhibit B. Section 4.1 also incorporated Neo4j USA’s trademark policies by references
                        3   as part of this license. See id. This license remained in place until Neo4j USA terminated the
                        4   Partner Agreement and the Neo4j Government Edition in July 2017. See Dkt. No. 72 at ¶ 21 and
                        5   Exhibit C. Defendants’ allegations of Neo4j USA’s alleged lack of quality control over Neo4j
                        6   Government Edition arise entirely when the Partner Agreement was in effect. See id. at ¶ 96.
                        7   Thus, Defendants’ naked licensing defense is barred by the doctrine of licensee estoppel to the
                        8   extent that it relies on such allegations, and such allegations concerning Neo4j’s purported
                        9   omissions on Neo4j Government Edition are irrelevant as a matter of law. See Monster, Inc., 920
                   10       F.Supp.2d at 1076–1077 (licensee estoppel prevents licensee’s attempt to challenge the trademark
                   11       based on failure to police its own licensed use); STX, Inc., 43 U.S.P.Q.2d at 1500-01; see also
                   12       Pacific Supply-Co-op. v. Farmers Union Central Exchange, Inc., 318 F.2d 894, 908 (9th Cir.
                   13       1963) (noting “long settled principle of law that a licensee [] of a trademark or trade name may
                   14       not set up any adverse claim in it against its licensor”).
                   15               B.      The Court Should Deny Defendants Leave to Amend
                   16               If the Court determines that dismissal is warranted, it must then decide whether to grant
                   17       leave to amend. See Harris v. Cnty. of Orange, 682 F.3d 1126, 1131 (9th Cir. 2012). The general
                   18       rule of liberality in granting leave to amend is subject to limitations, which including “undue
                   19       prejudice to the opposing party, bad faith by the movant, futility, and undue delay.” Cafasso,
                   20       U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058 (9th Cir. 2011). The Court’s
                   21       “discretion to deny leave to amend is particularly broad where plaintiff has previously amended
                   22       the complaint.” Id. (quotation marks omitted).
                   23               In particular, the Court should not grant leave to amend “where doing so would be an
                   24       exercise in futility.” Low v. LinkedIn Corp., 900 F.Supp. 2d 1010, 1033 (N.D. Cal. 2012). The
                   25       Court “may deny a plaintiff leave to amend if it determines that allegation of other facts
                   26       consistent with the challenged pleading could not possibly cure the deficiency.” Telesaurus VPC,
                   27       LLC v. Power, 623 F.3d 998, 1003 (9th Cir. 2010); accord Missouri ex rel. Koster v. Harris, 847
                   28       F.3d 646, 656 (9th Cir. 2017) (holding that an “amendment is futile when ‘no set of facts can be
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                        1   proved under the amendment to the pleadings that would constitute a valid and sufficient claim or
                        2   defense’”) (citation omitted). Likewise, the Court should deny leave to amend where the facts are
                        3   not in dispute, and the sole issue is whether there is liability as a matter of substantive law. See
                        4   Albrecht v. Lund, 845 F.2d 193, 195–96 (9th Cir. 1988).
                        5           Prior to the Court’s May 21, 2020 Order, Defendants had already amended both their
                        6   counterclaim and answer several times over the past year and half – and did so well after
                        7   discovery commenced. As discussed above, Defendants’ abandonment counterclaim and defense
                        8   continue to be based on the same flawed open source licensing theory that legally fails to meet the
                        9   definitions of abandonment under 15 U.S.C. § 1127 and runs afoul with Planetary Motion.
                   10       Clearly, granting Defendants further leave to amend would be futile as they have now had a year
                   11       and half to develop their naked licensing theory through discovery. The Court also gave
                   12       Defendants explicit guidance on how they could revive their naked licensing counterclaim and
                   13       defense, but Defendants did not head this guidance. Defendants simply added speculative,
                   14       conclusory, and irrelevant assertions concerning the number of copies of Neo4j® software may
                   15       have been permissibly distributed via the GPL and AGPL. The did not, however, allege specific
                   16       facts showing a lack of actual quality control by Neo4j Sweden or Neo4j USA other than an
                   17       example that is clearly barred by the licensee estoppel doctrine.
                   18               Neo4j USA further submits that no additional facts would resuscitate Defendants’
                   19       abandonment counterclaim and affirmative defense because the facts alleged by Defendants
                   20       establish Neo4j USA’s continuing use of the NEO4J® mark and its intent to control its rights
                   21       therein. See Weisbuch v. Cty. of L.A., 119 F.3d 778, 783 n.1 (9th Cir. 1997) (recognizing that a
                   22       party may plead itself out of court where that party alleges facts establishing that it cannot prevail
                   23       on its claim); accord Minor v. FedEx Office & Print Servs., Inc., 78 F.Supp. 3d 1021, 1026 (N.D.
                   24       Cal. 2015) (citing same). Defendants simply cannot meet the stringent standard of proof required
                   25       for naked licensing even under Iqbal and Twombly. Accordingly, the Court should not grant
                   26       Defendants leave to amend their abandonment counterclaim and affirmative defense.
                   27       ///
                   28       ///
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                        1   VI.     CONCLUSION
                        2           For the foregoing reasons, the Court should grant Neo4j USA’s motion to dismiss for
                        3   failure to state a claim in its entirety and dismiss with prejudice (a) Tenth Cause of Action for
                        4   Declaratory Relief in Defendants’ Second Amended Counterclaim and; (b) the Ninth Affirmative
                        5   Defense for Naked License Abandonment of Trademark in Defendants’ First Amended Answer.
                        6

                        7   Dated: June 19, 2020                                 HOPKINS & CARLEY
                                                                                 A Law Corporation
                        8

                        9
                                                                                 By: /s/ Cary Chien
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